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                            Exhibit 1
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Case 1:23-cv-00108-LMB-JFA
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19
                                  UNITED STATES DISTRICT COURT
20                              NORTHERN DISTRICT OF CALIFORNIA
21                                      SAN JOSE DIVISION

22                                                   Case No. 5:20-cv-03556-BLF
     IN RE GOOGLE DIGITAL ADVERTISING
23   ANTITRUST LITIGATION
                                                     FIRST AMENDED CONSOLIDATED
24                                                   CLASS ACTION COMPLAINT
25
                                                     DEMAND FOR JURY TRIAL
26
27                                                   Hon. Beth Labson Freeman
28

                   FIRST AMENDED CONSOLIDATED CLASS ACTION COMPLAINT
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 1           54.    When an internet user clicks to visit a web page, in the milliseconds that it takes for that
 2   page to load, real-time auctions are occurring in the background to determine which ads will display
 3   on the web page that particular user will see. These auctions are run by supply-side platforms (SSPs),
 4   exchanges, and demand-side platforms (DSPs) in the ad tech stack.
 5           55.    On the supply side of the exchange, suppliers—online publishers—of display
 6   advertising employ publisher ad servers (PAS) to accept, store, and manage ads; choose where and
 7   when ads appear; and track the effectiveness of ad campaigns. Each specific ad placement is
 8   determined based on bids from advertisers and/or preexisting arrangements between publishers and
 9   advertisers. Publishers rely on supply-side platforms (SSPs) to run auctions, interface directly with
10   their demand-side equivalents, and optimize available inventory.
11           56.    The demand side is comprised of advertisers and media agencies running advertising
12   campaigns for businesses. Advertisers and media agencies rely on advertiser ad servers (AAS) to store
13   ads, deliver them to publishers, and record transactions. Advertisers and media agencies also employ
14   demand-side platforms (DSPs) to purchase digital advertising by bidding in auctions and to manage
15   their bids.
16           57.    The DSP connects to an ad exchange, which combines inventory from ad networks and
17   SSPs with third-party data from a data management platform or data broker. When an ad space on a
18   publisher’s site becomes available, the ad exchange holds an auction in which the DSP bids on the
19   impression submitted by the ad network or SSP.
20           58.    Together, the publisher ad servers (PAS), supply-side platforms (SSP), advertiser ad
21   servers (AAS), and demand-side platforms (DSP) comprise what is known as the “ad tech stack.” By
22   connecting publishers and advertisers, an ad tech provider functions as an intermediary broker. The
23   U.K.’s Competition and Markets Authority (CMA) depicted this market as follows:
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 1   by invoking data privacy laws, the CMA observed that “Google itself” has proposed technologies “to
 2   allow targeted advertising without user profiling,” and that Google has an obvious incentive to
 3   interpret data protection laws in a self-serving way to “entrench[] its own competitive advantage,
 4   including by denying third parties access to data that is necessary for targeting, attribution, verification
 5   and fee or price assessment” while preserving its own right to use that data within its “walled garden.”
 6   V.     INTERSTATE TRADE AND COMMERCE
 7          180.    Google’s conduct as alleged herein has had a substantial effect on interstate and
 8   intrastate commerce.
 9          181.    At all material times, Google participated in the marketing, promotion, distribution, and
10   sale of publication and advertising services for display advertisements in a continuous and
11   uninterrupted flow of commerce across state and national lines and throughout the United States.
12          182.    Google’s conduct also had substantial intrastate effects in that, among other things,
13   Google’s publication and advertising services for display advertisements were sold in each state,
14   including California. At least thousands of individuals in each state, including California, were
15   impacted by Google’s anticompetitive conduct. As alleged below, absent Google’s unlawful conduct,
16   Plaintiffs and class members within each state would have paid less or received more money for
17   digital advertising services.
18   VI.    RELEVANT MARKET
19          183.    Google’s anticompetitive conduct has restrained competition in the market for online
20   display advertising services, encompassing the overall system or process that connects online display
21   advertisers and publishers (including Google). This market, colloquially known as the “ad tech stack”
22   or “ad stack,” comprises various segments and is the relevant market that Google monopolized for
23   purposes of this action.
24          184.    The relevant geographic market is the United States. Market participants recognize this
25   in the ordinary course of business. For example, Google offers display advertisers the ability to target
26   and deliver ads based on the location of publishers or consumers in the United States. Google also
27   separately tracks display advertising revenue for the United States.
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 1          185.    Google is the dominant provider of online search and search advertising in the United
 2   States—over 90% of internet searches are performed on Google’s search engine—and used its
 3   dominant position in those markets to restrain trade in the separate market for display advertising
 4   services.
 5          186.    The display advertising services market comprises advertising services and platforms,
 6   and publishing services and platforms. Google has monopolized each of the relevant submarkets of
 7   the overall market for display advertising services, including the subsidiary markets for publisher ad
 8   servers, supply-side platforms, demand-side platforms, and advertiser ad servers. Google’s conduct
 9   had the intent and effect of suppressing competition in the display advertising services market as well
10   as in each of its component submarkets, and converting those submarkets into a single intermediation
11   market under its control.
12          187.    Google controls well over 90% of the PAS submarket and more than half of the SSP
13   and associated ad exchange submarket. Likewise, on the demand side, Google controls 80-90% of the
14   AAS submarket and at least 60% of the DSP submarket.
15          188.    Google has wielded its market power to integrate each submarket of the ad stack into a
16   single set of bundled services, with the intent and effect of preventing and discouraging competitors
17   (other display advertising services providers), publishers, and advertisers from relying on advertising
18   service providers on a product-by-product basis. Google’s anticompetitive conduct has foreclosed
19   competition, eliminating the ability of each segment of the display advertising services process, and
20   the process as a whole, to function as a free and independent market. As a result of Google’s conduct
21   detailed in this complaint, Google has succeeded in combining the various subcomponents of the
22   intermediation market for display advertising into one market—and a large and continually increasing
23   majority of advertisers and publishers recognize and submit to this economic reality by paying only
24   Google for display advertising brokering services.
25          189.    Digital display advertising on the open web is a “market” under antitrust law even
26   though advertisers may engage in other forms of digital advertising as well. Online display
27   advertising is at base a matching problem. On one side are publishers who produce content, and earn
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